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                IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MONTANA

                          GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                   CR 18-14-GF-BMM

                     Plaintiff,
                                             ORDER
          vs.

 STANLEY PATRICK WEBER,

                     Defendant.



      Upon Petition of Jeffrey K. Starnes, Assistant United States Attorney for the

District of Montana, and good cause appearing therefore,

      IT IS HEREBY ORDERED that the Clerk of This Court issue a Writ of

Habeas Corpus (for testimony) directing the Warden of Pennington County Jail

and the United States Marshal for the District of Montana, to produce Daniel

Joseph Martin before the Court at the District Judge=s Courtroom in Great Falls,

Montana, at 8:30 a.m. on Monday, August 6, 2018, and Daniel Joseph Martin is to

stay in federal custody until the conclusion of this case. Daniel Joseph Martin

shall then be returned to the custody of the Warden of Pennington County Jail.

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DATED this 24th day of July, 2018.




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